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UNITED STATES DISTRICT COURT                       , ELEcnlc··•.. ~, (':\LLY r:TED    l
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SOUTHERN DISTRICT OF NEW YORK
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-----------------------------------X                                           &{ (
VICTOR PAYANO,                                           -·-
                         Plaintiff,              17 Civ. 9983    (HBP)

     -against-                                  OPINION
                                                AND ORDER
1652 POPHAM ASSOCIATES, LLC,
et al.,

                         Defendants.

-----------------------------------x

             PITMAN, United States Magistrate Judge:


             This matter is before me for review of the parties'

settlement agreement in this action brought under the Fair Labor

Standards Act ("FLSA"), 29 U.S.C.        §§   201, et seq. and the New

York Labor Law ("NYLL").       All parties have consented to my

exercising plenary jurisdiction pursuant to 28 U.S.C.            §   636(c).

For the reasons set forth below, the settlement is approved, with

the amendments set out herein. 1

             The parties appeared at a settlement conference before

me on August 1, 2018.       During the course of the conference, the



     1
      During the course of negotiating the formal settlement
agreement subsequent to an August 1, 2018 settlement conference,
the parties reached an impasse concerning two provisions -- re-
employment and non-disparagement. During a recorded conference
call held on December 21, 2018, counsel for plaintiff and
defendants agreed that I could resolve their dispute concerning
these provisions.  Subsequent to that call, counsel for plaintiff
and defendants submitted letter briefs in support of their
respective positions conce+,ning the contested provisions.
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following facts were disclosed.         Plaintiff worked as a superin-

tendent at a 49-unit apartment building owned and operated by

defendants.     Plaintiff claims that he was employed by defendants

from October 28, 2012 through October 31, 2017; defendants claim

he was employed by them from December 16, 2013 through December

18, 2017.     Plaintiff claims that during the course of his employ-

ment he was paid an hourly wage that ranged from $17.88 to $21.01

but that he was never paid anything for the hours he worked in

excess of 40 hours per week; plaintiff claims that, on average,

he worked 66-77 hours per week.         Plaintiff also claims defendants

made illegal deductions from his wages for the cost of the

apartment in which plaintiff claims he was required to reside.

Finally, plaintiff also alleges that defendants violated several

provisions of the NYLL, including Sections 191(1) (a) (i)       (requir-

ing manual workers to be paid on a weekly basis), 195(1)         (requir-

ing wage notices) and 195(3)    (requiring wage statements).

Plaintiff claims that he is owed $229,792.50 in unpaid overtime

pay, $229,792.50 in liquidated damages, statutory damages for the

alleged NYLL violations and attorney's fees.

            Other than the fact of plaintiff's employment, defen-

dants deny the material allegations of the complaint and claim

that during the period of his employment, plaintiff operated his

own construction business "on the side."         Defendants claim that

plaintiff's alleged side business caused plaintiff to be absent


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from the apartment building for extended periods of time when

plaintiff should have been working.         Defendants also claim, among

other things, that plaintiff would, at times, have his cousin

stand in for him at the apartment building and perform the work

plaintiff was supposed to perform and that plaintiff permitted

friends and acquaintances to stay in vacant apartments rent-free.

Defendants deny that they owe plaintiff any overtime pay, and

claim that they complied with all applicable provisions of the

NYLL.

            As noted above, the parties and their counsel appeared

for a settlement conference before me on August 1, 2018.            After

an extended discussion and several exchanges of offers and

counter-offers, I made a mediator's proposal that the matter

settle for the total sum of $60,000.00.         Both sides accepted my

proposal.

            Court approval of an FLSA settlement is appropriate
            "when [the settlement] [is] reached as a result of
            contested litigation to resolve bona fide disputes."
            Johnson v. Brennan, No. 10 Civ. 4712, 2011 WL 4357376
            at *12 (S.D.N.Y. Sept. 16, 2011).  "If the proposed
            settlement reflects a reasonable compromise over con-
            tested issues, the court should approve the settle-
            ment." Id. (citing Lynn's Food Stores, Inc. v. United
            States, 679 F.2d 1350, 1353 n.8 (11th Cir. 1982)).

Agudelo v. E & D LLC, 12 Civ. 960 (HB), 2013 WL 1401887 at *l

(S.D.N.Y. Apr. 4, 2013)      (Baer, D.J.)   (alterations in original)

"Generally, there is a strong presumption in favor of finding a

settlement fair,     [because] the Court is generally not in as good


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a position as the parties to determine the reasonableness of an

FLSA settlement.''   Lliguichuzhca v. Cinema 60, LLC, 948 F. Supp.

2d 362, 365 (S.D.N.Y. 2013)    (Gorenstein, M.J.)     (internal quota-

tion marks omitted).    In Wolinsky v. Scholastic Inc., 900 F.

Supp. 2d 332, 335 (S.D.N.Y. 2012), the Honorable Jesse M. Furman,

United States District Judge, identified five factors that are

relevant to an assessment of fairness of an FLSA settlement:

          In determining whether [a] proposed [FLSA] settlement
          is fair and reasonable, a court should consider the
          totality of circumstances, including but not limited to
          the following factors:   (1) the plaintiff's range of
          possible recovery; (2) the extent to which the settle-
          ment will enable the parties to avoid anticipated
          burdens and expenses in establishing their respective
          claims and defenses; (3) the seriousness of the liti-
          gation risks faced by the parties; (4) whether the
          settlement agreement is the product of arm's length
          bargaining between experienced counsel; and (5) the
          possibility of fraud or collusion.

(internal quotation marks omitted).      The settlement here satis-

fies these criteria.

          First, the net settlement amount represents approxi-

mately 17% of plaintiff's claimed unpaid overtime pay.          Defen-

dants contend that they have time records that accurately reflect

the hours plaintiff worked and additional documentary evidence

establishing that plaintiff was in fact operating a construction

business and was, at times, absent from the building during

working hours.   Plaintiff's case appears to rest entirely on his

own testimony.   As discussed in more detail below, given the

risks plaintiff would face if the case proceeded to trial, the

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settlement amount is reasonable.           See Redwood v. Cassway Con-

tracting Corp., 16 Civ. 3502        (HBP), 2017 WL 4764486 at *2

(S.D.N.Y. Oct. 18, 2017)        (net settlement of 29.1% of FLSA plain-

tiffs' maximum recovery is reasonable); Felix v. Breakroom

Burgers   &   Tacos, 15 Civ. 3531 (PAE), 2016 WL 3791149 at *2

(S.D.N.Y. Mar. 8, 2016)     (Engelmayer, D.J.)      (net settlement of 25%

of FLSA plaintiff's maximum recovery is reasonable).

              Second, the settlement will entirely avoid the expense

and aggravation of litigation.        As noted above, defendants

dispute plaintiff's claim that he is owed overtime premium pay

and claim to possess documentary evidence that lends at least

some support to their contentions.          Plaintiff's case appears to

rest entirely on his oral testimony.          Thus, trial preparation

would likely require depositions of both sides.          The settlement

avoids the necessity of conducting these depositions.

              Third, the settlement will enable plaintiff to avoid

the risk of litigation.         To prevail at trial, plaintiff will bear

the burden of proving the number of hours that he worked and how

much he was paid.      Given plaintiff's apparent inability to

identify any corroborating evidence and his interest in the

outcome, there is a non-trivial risk that a fact finder may not

credit his testimony.      See Bodon v. Domino's Pizza, LLC, No. 09-

CV-2941 (SLT), 2015 WL 588656 at *6 (E.D.N.Y. Jan. 16, 2015)

(Report   &   Recommendation)    (" [T]he question [in assessing the


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fairness of a class action settlement] is not whether the settle-

ment represents the highest recovery possible               but whether

it represents a reasonable one in light of the many uncertainties

the class faces           11
                               (internal quotation marks omitted)),

adopted sub nom . .QY, Bodon v. Domino's Pizza, Inc., 2015 WL

588680 (E.D.N.Y. Feb. 11, 2015); Massiah v. MetroPlus Health

Plan, Inc., No. ll-cv-05669 (BMC), 2012 WL 5874655 at *5

(E.D.N.Y. Nov. 20, 2012)       ( 11 [W]hen a settlement assures immediate

payment of substantial amounts to class members, even if it means

sacrificing speculative payment of a hypothetically larger amount

years down the road, settlement is reasonable .              11
                                                                  (internal

quotation marks omitted)).

             Fourth, there is no evidence that the settlement is

anything other than the product of arm's-length bargaining

between experienced counsel.       As noted above, the final settle-

ment amount was suggested by the undersigned.

             Fifth, there is no evidence suggesting fraud.         The fact

that I suggested the settlement amount conclusively negates the

possibility of fraud or collusion.

             Defendants have proposed an extremely broad provision

that would prohibit plaintiff from seeking re-employment with

defendants or seeking to rent an apartment in one of defendants'

buildings.     Specifically, defendants have proposed the following

prohibition:


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          8.   NO FUTURE EMPLOYMENT OR TENANCY:

               A)  Plaintiff acknowledges and agrees that he is
          not currently an active employee of Defendants or the
          Releasees.  Plaintiff also agrees that he hereby relin-
          quishes any and all rights he may have to either di-
          rectly or indirectly:   (i) be employed by; (ii) be
          assigned to; (iii) work for; (iv) seek employment with
          or apply to; (v) accept employment with; or (vi) pro-
          vide services in exchange for compensation in any
          capacity to (including, but not limited to, as an
          employee, independent contractor, consultant or tempo-
          rary employee) either the Defendants or Releasees,
          unless Plaintiff's current or future employer is pur-
          chased or acquired by any of the Defendants or
          Releasees.  Plaintiff agrees that he will not knowingly
          seek, apply for, or accept any employment or assignment
          to which he has relinquished any rights.   Plaintiff
          agrees that his signing of this agreement will consti-
          tute good and sufficient cause to reject any applica-
          tion Plaintiff might make despite this provision, or to
          terminate Plaintiff's employment if he should obtain
          such employment.

               B)  Plaintiff additionally hereby relinquishes any
          and all rights he may have to either directly or indi-
          rectly be owner, part-owner, shareholder, tenant or
          lessee, sub-tenant or sub-lessee of any property owned
          or managed, whether in whole or in part, by the Defen-
          dants and/or Releasees, unless Plaintiff's current or
          future housing accommodation, or property in which
          Plaintiff already holds ownership or other rights, is
          purchased, acquired or becomes managed by the Defen-
          dants and/or Realsors.   Plaintiff agrees that he will
          not knowingly seek, apply for, or accept any housing
          accommodation or other property rights which he has
          relinquished herein.   Plaintiff agrees that his signing
          of this agreement will constitute good and sufficient
          cause to reject any application for housing or offer to
          purchase property Plaintiff might make despite this
          provision, or to otherwise terminate, discontinue,
          and/or not renew Plaintiff's tenancy if he should
          obtain such property rights.

          The foregoing provision is unacceptable.         It is well

established that clauses barring re-employment conflict with the


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FLSA's "primary remedial purpose:          to prevent abuses by unscrupu-

lous employers, and remedy the disparate bargaining power between

employers and employees."         Cheeks v. Freeport Pancake House,

Inc., 796 F.3d 199, 207 (2d Cir. 2015); see also Ortiz v. My

Belly's Playlist LLC, 283 F. Supp. 3d 125, 126 (S.D.N.Y. 2017)

(striking down a similar provision barring plaintiffs from ever

working, or applying to work, for defendants because it was in

direct conflict with FLSA's remedial purpose); Olano v. Designs

by RJR, Ltd., 17 Civ. 5703        (WHP), 2017 WL 4460771 at *3    (S.D.N.Y.

Oct. 6, 2017)    (Pauley, D.J.)     (describing a re-employment prohibi-

tion as being one of the "'greatest hits'" of the provisions that

are unacceptable under Cheeks); Baikin v. Leader Sheet Metal,

Inc., 16 Civ. 8194 (ER), 2017 WL 1025991 at *1 (S.D.N.Y. Mar. 13,

2017)   (Ramos, D.J.)   (same).

            The prohibition against plaintiff acquiring or seeking

a lease or other interest in property owned by defendants is

equally problematic.      Given the unequal bargaining power that an

employer enjoys, judges in this Circuit have been extremely

sensitive to settlement provisions that provide benefits to

employers that go beyond the release of wage and hour claims.

See Thallapaka v. Sheridan Hotel Assocs. LLC, 15 Civ. 1321 (WHP),

2015 WL 5148867 at *l (S.D.N.Y. Aug. 17, 2015)          (Pauley, D.J.)

("An employer is not entitled to use an FLSA claim.              . to

leverage a release from liability unconnected to the FLSA"


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(internal quotation marks and citations omitted)); accord Sanchez

v. Alan's RE 99 Cents        &   Up Inc., 16 CV 1881 (CBA) (LB), 2018 WL

2452784 at *4 (E.D.N.Y. Apr. 24, 2018).           This litigation raises

no issue concerning plaintiff's fitness as a tenant, and the

prohibition is unquestionably an attempt by defendants to gain an

advantage beyond the release of the wage and hour claims.              The

provision is also clearly retaliatory in violation of 29 U.S.C. §

215(a) (3) . 2   Accordingly, Section 8 of the parties' settlement

agreement is stricken.

              The parties also have a disagreement concerning the

settlement agreement's non-disparagement provision.             The non-

disparagement provision provides:

              11. NONDISPARAGEMENT: Plaintiff further agrees that
              neither he nor anyone under his control or at his
              direction will take, support, encourage, induce or
              voluntarily participate in any action or attempted
              action that would negatively comment on, disparage or
              call into question the business operations, policies or
              conduct of the Releasees, or to act in any way with
              respect to such business operations, policies or con-
              duct that would likely damage any of the Releasees'
              reputations, business relationships, or present or
              future business.  For the purposes of this agreement,
              the term "disparage" includes and is not limited to
              comments or statements to the press and/or media, as
              well as to persons or entities with whom the Releasees
              have a business or charitable relationship, which would
              adversely affect the Releasees. However, nothing in
              this Section shall be construed to prohibit Plaintiff



      The FLSA prohibits retaliation against both current and
      2


former employees. Dunlop v. Carriage Carpet Co., 548 F.2d 139,
142 (6th Cir. 1977); Morangelli v. Chemed Corp., 10 Civ. 00876
(BMC), 2011 WL 7475 at *2 (E.D.N.Y. Jan. 1, 2011)

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             from making truthful statements concerning his experi-
             ence litigating the Civil Action.

             Courts in this Circuit have held that while "not all

non-disparagement clauses are per se objectionable, if the

provision would bar plaintiffs from making any negative statement

about the defendants, it must include a carve-out for truthful

statements about plaintiffs' experience litigating their case

[because]    [o]therwise, such a provision contravenes the remedial

purposes of the [FLSA] and              . is not fair and reasonable."

Martinez v. Gulluoglu LLC, 15 Civ. 2727 (PAE), 2016 WL 206474 at

*1-*2   (S.D.N.Y. Jan. 15, 2016)        (Engelmayer, D.J.)       (internal

quotation marks omitted); accord Mei Na Lao v. Chung Chou City,

LLC, 16 Civ. 9193      (AJN), 2018 WL 2170298, at *2           (S.D.N.Y. May 10,

2018)   (Nathan, D.J.); Howard v. Don Coleman Advert. Inc., 16 Civ.

5 0 6 0 (JLC) , 201 7 WL 7 7 3 6 9 5 at * 2 ( S. D. N. Y. Feb. 2 8, 201 7)   (Cott,

M.J.)   (striking down a mutual non-disparagement clause that did

not contain a carve-out provision).             Although plaintiff makes a

number of arguments claiming that the non-disparagement clause

here is improper, neither plaintiff's research nor my own has

found any case in the Circuit disapproving a non-disparagement

clause in an FLSA settlement agreement that contains a carve out

for truthful statements concerning the plaintiff's experience

litigating the action.         To the contrary, the overwhelming weight

of authority has approved such provisions.               ~.g., Montenegro v.

NMN Food LLC, 18 Civ. 3153         (RA), 2018 WL 6618372 at *2          (S.D.N.Y.

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Dec. 18, 2018)     (Abrams, D.J.); Zhi Li Zhong v. Rockledge Bus Tour

Inc., 18 Civ. 454     (RA), 2018 WL 3733951 at *3      (S.D.N.Y. Aug. 6,

2018)   (Abrams, D.J.); Elamrani v. Henry Limousine, Ltd., 15 CV

2050 (CLP), 2018 WL 3518505 at *3          (E.D.N.Y. July 19, 2018);

Velandia v. Serendipity 3, Inc., 16 Civ. 1799 (AJN), 2018 WL

3418776 at *3-*4     (S.D.N.Y. July 12, 2018)      (Nathan, D.J.); Gomez

v. Midwood Lumber & Millwork, Inc., 17-CV-3064 (KAM) (JO), 2018 WL

3019877 at *6 (E.D.N.Y. June 17, 2018).           Given this array of

authorities, the proposed non-disparagement clause is not objec-

tionable.

            Finally, the settlement provides that 33.3% of the net

settlement fund -- $19,824.00 3     --     will be paid to plaintiff's

counsel as a contingency fee.        Contingency fees of one-third in

FLSA cases are routinely approved in this Circuit.           Santos v. EL

Tepeyac Butcher Shop Inc., 15 Civ. 814          (RA), 2015 WL 9077172 at

*3 (S.D.N.Y. Dec. 15, 2015)       (Abrams, D.J.)    (" [C]ourts in this

District have declined to award more than one third of the net

settlement amount as attorney's fees except in extraordinary

circumstances."), citing Zhang v. Lin Kumo Japanese Rest. Inc.,

13 Civ. 6667 (PAE), 2015 WL 5122530 at *4 (S.D.N.Y. Aug. 31,

2015)   (Engelmayer, D.J.) and Thornhill v. CVS Pharm., Inc., 13


     3
       Counsel incurred $526.00 in out of pocket costs in bringing
this action.    I presume this figure is comprised of the $400.00
filing fee and $126.00 for service. Deducting these amounts from
the $60,000.00 settlement figure leaves a remainder of
$59,474.00. One-third of $59,474.00 is $19,824.67.

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Civ. 507 (JMF), 2014 WL 1100135 at *3          (S.D.N.Y. Mar. 20, 2014)

(Furman, D.J.); Rangel v. 639 Grand St. Meat & Produce Corp., No.

13 CV 3234     (LB), 2013 WL 5308277 at *l (E.D.N.Y. Sept. 19, 2013)

(approving attorneys' fees of one-third of FLSA settlement

amount, plus costs, pursuant to plaintiff's retainer agreement,

and noting that such a fee arrangement "is routinely approved by

courts in this Circuit"); Febus v. Guardian First Funding Grp.,

LLC, 870 F. Supp. 2d 337, 340 (S.D.N.Y. 2012)            (Stein, D.J.)     (" [A]

fee that is one-third of the fund is typical" in FLSA cases);

accord Calle v. Elite Specialty Coatings Plus, Inc., No. 13-CV-

6126 (NGG) (VMS), 2014 WL 6621081 at *3         (E.D.N.Y. Nov. 21, 2014);

Palacio v. E*TRADE Fin. Corp., 10 Civ. 4030 (LAP) (DCF), 2012 WL

2384419 at *6-*7 (S.D.N.Y. June 22, 2012)          (Freeman, M.J.).

             Accordingly, for all the foregoing reasons, Section 8

of the parties' settlement agreement is stricken; all other

provisions of the settlement agreement are approved.

             In light of the settlement, the action is dismissed

with prejudice and without costs.           The Clerk is respectfully

requested to mark this matter closed.

Dated:       New York, New York
             February 6, 2019

                                            SO ORDERED




                                            United States Magistrate Judge

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Copies transmitted to:

All Counsel




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